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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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IN RE: BEMIS CO. SECURITIES LITIGATION                                   19 CIVIL 3356 (JPC)

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        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated January 12, 2021, the Defendants’ Motion to

Dismiss is granted and this case is dismissed with prejudice; accordingly, this case is closed.


Dated: New York, New York
       January 12, 2021




                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
